

Bowe v Valentine (2021 NY Slip Op 03543)





Bowe v Valentine


2021 NY Slip Op 03543


Decided on June 08, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: June 08, 2021

Before: Kapnick, J.P., Singh, Moulton, González, JJ. 


Index No. 26968/16E Appeal No. 14023 Case No. 2020-03051 

[*1]Monique J. Bowe, Plaintiff-Appellant,
vOliva Valentine, Defendant-Respondent.


Mischel &amp; Horn, P.C., New York (Scott T. Horn of counsel), for appellant.
Devitt Spellman Barrett, LLP, Smithtown (Christi M. Kunzig of counsel), for respondent.



Order, Supreme Court, Bronx County (Donald Miles, J.), entered May 26, 2020, which granted defendant's motion for summary judgment dismissing the complaint, unanimously affirmed, without costs.
Defendant established entitlement to summary judgment pursuant to the homeowner exemption codified in Administrative Code of City of NY § 7-210(b). Plaintiff failed to raise an issue of fact as to whether defendant created the alleged hazardous condition through any special use where plaintiff testified that the accident occurred on the sidewalk adjacent to, but not on, the area used as a driveway, or that
any alleged special use contributed to the hazardous condition (see Hernandez v Ortiz, 165 AD3d 559, 560 [1st Dept 2018]).
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: June 8, 2021








